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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                               AUSTIN DIVISION

   SHARON D. ROSE,                                   §
                               Plaintiff,            §
                                                     §
   v.                                                §   Civil Action No. 1:18-CV-
                                                     §         00491-LY-ML
                                                     §
   SELECT PORTFOLIO                                  §
   SERVICING, INC. AND US                            §
   BANCORP,                                          §
                  Defendants.                        §

       AMENDED PLAINTIFF’S EMERGENCY MOTION FOR
  RECONSIDERATION OF OPPOSED EMERGENCY MOTION TO STAY
EXECUTION OF THE JUDGMENT PENDING APPEAL AND TO APPROVE
                       SECURITY

        Plaintiff ShaRon Rose asks that the court reconsider her request that the court
stay execution of the judgment conditioned on her payment of security. The court
erred as a matter of law by relying on outdated law under superseded rules.
        The court denied Rose’s motion to post security based on cases under Rule 62
as of 1972. However, “[m]aterial amendments to Rule 62 [in 2017 and 2018] . . . have
clarified the law for purposes of this [mortgage foreclosure] case and made its
application simpler and more flexible.” Deutsche Bank Nat'l Tr. Co. as Tr. for GSAA
Home Equity Tr. 2006-18 v. Cornish, 759 F. App'x 503, 506-510 (7th Cir. 2019).1
        In fact, a mortgage foreclosure debtor should be granted a stay of execution on
the judgment if she posts adequate security to protect the bank, such as caring for
the property and making sure it is insured and that the taxes are paid . Id. at 506,
510. In a mortgage case, “the lender already has its security interest in the mortgaged
property. That security interest should ordinarily suffice to protect the lender’s rights
pending appeal for purposes of Rule 62. That’s what the lender bargained for as its



1 Attached hereto for the court’s convenience.




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security, after all . . . .”
         Accordingly, “the norm should be a stay” with the property itself as security,
along with preservation of the property and the payment of insurance and property
taxes. Id. at 510.
         In this case, the bank has been paying property taxes and insurance already
to protect its putative collateral. In any event, if Rose pays $1,441 monthly and
preserves the property, the bank’s putative collateral will continue           to be fully
protected, and within a few months, all property taxes and insurance will have been
covered while Rose seeks review in the high court.
         In addition, the factors cited by the court in its order denying the motion are
in Rose’s favor.
         Irreparable injury is apparent with the loss of real estate. Home Sav. of Am.,
F.A. v. Van Cleave Dev. Co., Inc., 737 S.W.2d 58, 59 (Tex. App.—San Antonio 1987,
no writ). Eviction, too, is an irreparable injury. Cornish, 759 F. App'x at 504. Rose’s
son resides in the home in question and will be evicted imminently if sale occurs.
         A stay is in the public interest because if the bank forecloses but Rose prevails
in the Supreme Court, additional litigation and title problems involving third parties
arise from having to set aside the foreclosure sale. If Rose does not prevail, the public
interest is not a factor or else weighs in favor of stay: the bank will foreclose at a later
date in the ordinary course and with clear title.
         Rose is likely to prevail on appeal because the circuit split discussed by the
Fifth Circuit in its opinion in this case shows that the Defendants – creditors – were
given broad protections by the First Circuit in recognition of Congress’s intent in
reforming the Bankruptcy Code. In re Smith, 910 F.3d 576 (1st Cir. 2018). In essence,
Rose is conceding the lending industry’s position that serial bankruptcy filers should
not receive bankruptcy stays.
         Defendants will not be harmed by mere delay in a foreclosure sale given that
the bank cannot get clear title until this litigation is completed. The Defendants
retain the collateral as protection, plus Rose’s installment payments to cover other
costs.



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                                     PRAYER
        For these reasons, Plaintiff ShaRon Rose asks that the court reconsider its
denial of her motion to post security and that judgment be stayed conditioned on
Rose’s payment monthly of $1,441 in security until proceedings in the U.S. Supreme
Court are completed. Further, that this motion be accorded emergency consideration
given the time constraints and the pending notice of a January 7, 2020 U.S. Marshall
sale.
                                             Respectfully submitted,
                                             /s/ J. Patrick Sutton
                                             J. Patrick Sutton
                                             Texas Bar No. 24058143
                                             1505 W. 6th Street
                                             Austin, Texas 78703
                                             Tel. (512) 417-5903
                                             jpatricksutton@jpatricksuttonlaw.com


                      CERTIFICATE OF CONFERENCE
        I certify that on December 12, 2019, undersigned counsel for Plaintiff
conferred with counsel for Defendant, who stated that he is opposed to the motion
for which reconsideration is being sought.

                                             /s/ J. Patrick Sutton
                                             J. Patrick Sutton




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                                                                Before ILANA DIAMOND ROVNER, Circuit Judge,
                  759 Fed.Appx. 503                             DAVID F. HAMILTON, Circuit Judge, AMY J. ST. EVE,
             This case was not selected for                     Circuit Judge
        publication in West's Federal Reporter.
      See Fed. Rule of Appellate Procedure 32.1
        generally governing citation of judicial
                                                                                            ORDER
       decisions issued on or after Jan. 1, 2007.
      See also U.S.Ct. of App. 7th Cir. Rule 32.1.              This is an appeal from a judgment foreclosing the mortgage
    United States Court of Appeals, Seventh Circuit.            on defendant Tracy Cornish’s home and confirming the sale
                                                                of that home in a court-ordered auction. On July 16, 2018,
       DEUTSCHE BANK NATIONAL TRUST
                                                                this court granted Cornish’s motion to stay the district court’s
     COMPANY, AS TRUSTEE FOR GSAA HOME
                                                                judgment and thus delayed the turnover of the residence to the
       EQUITY TRUST 2006-18, Asset-Backed                       buyer, which was plaintiff Deutsche Bank itself. That order
    Certificates, Series 2006-18, Plaintiff-Appellee,           said an explanation would follow. This is the explanation,
                            v.                                  though our thinking has evolved based on amendments to
       Tracy CORNISH, Defendant-Appellant.                      Federal Rule of Civil Procedure 62 and Federal Rule of
                                                                Appellate Procedure 8 that took effect on December 1, 2018.
                          No. 18-2429
                               |                                 *504 At issue is how we should apply those rules to appeals
                        February 6, 2019                        of mortgage foreclosure judgments in the wake of a recent
                                                                change in our circuit’s law affecting those appeals. In HSBC
Synopsis
                                                                Bank USA, N.A. v. Townsend, 793 F.3d 771 (7th Cir. 2015),
Background: Mortgagee brought foreclosure action against
                                                                we held that in mortgage foreclosures in federal courts in
mortgagor. The United States District Court for the Northern
                                                                Illinois, there is no final appealable judgment until the district
District of Illinois, No. 13-CV-2599, Virginia M. Kendall,
                                                                court has not only foreclosed the mortgage but also ordered
J., entered judgment of foreclosure and confirmed sale of
                                                                a judicial sale of the property and later confirmed the results
mortgagor's residence in court-ordered auction. Mortgagor
                                                                of the sale and ordered turnover of the property. See also
appealed and moved to stay turnover of residence to
                                                                Bank of America, N.A. v. Martinson, 828 F.3d 532 (7th Cir.
mortgagee, which had bought residence itself at auction.
                                                                2016) (extending Townsend to mortgage foreclosures under
                                                                Wisconsin law). Townsend means that the borrower’s first
                                                                opportunity to appeal the merits of the underlying debt and
The Court of Appeals held that stay pending appeal was          any affirmative defenses comes only after the district court
warranted.                                                      has confirmed the sale. At that point, eviction is imminent.

                                                                The practical question we address here is whether a stay
Stay granted.
                                                                should depend on a quick evaluation of the likely merits of
                                                                the appeal, where the parties, lawyers, and judges must act
St. Eve, Circuit Judge, filed dissenting opinion.
                                                                under the time pressure of a 30-day eviction deadline, or
                                                                whether we should allow normal appellate processes to work
Appeal from the United States District Court for the Northern   as they would in most other cases to enforce debts where the
District of Illinois, Eastern Division. No. 13-CV-2599,         lender’s interest is protected by security. We recognize as a
Virginia M. Kendall, Judge.                                     practical matter that most mortgage foreclosures are likely to
                                                                be affirmed. But that is also true of most commercial debt
Attorneys and Law Firms                                         judgments, and of most civil judgments generally, for that
                                                                matter. That practical reality does not mean that courts need
Kimberly A. Jansen, Attorney, Hinshaw & Culbertson LLP,         to change the process to force at the outset a rushed evaluation
Chicago, IL, for Plaintiff-Appellee                             of the likely merits of the appeal. There is still plenty of
                                                                room for human and legal error in mortgage foreclosures,
Tracy Cornish, Pro Se
                                                                especially in this age of high-volume securitized mortgages


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that may have changed hands many times, for servicing              Avelo’s 2008 foreclosure action constituted a final judgment
and ownership, before foreclosure. A majority of this panel        under state law because the lender did not refile its suit within
believes the norm should be a stay pending appeal, absent          one year or the remaining period allowed by the statute of
unusual circumstances. 1                                           limitations.


We issued the stay under the relevant rules in effect in July      Deutsche Bank moved for reconsideration, arguing that the
2018, but we address here also the new 2018 versions of            statute of limitations had not yet run. The district court agreed
Federal Rule of Civil Procedure 62(b) and Federal Rule of          and reinstated the case. In April 2016, the district court
Appellate Procedure 8(a) that took effect on December 1,           granted Deutsche Bank’s motion for summary judgment on
2018. Under the new versions of those rules, we conclude,          the merits and held that the bank was entitled to foreclosure.
at least provisionally, that stays pending appeal should be the
                                                                   Cornish appealed from the summary judgment order. We
norm in mortgage foreclosure appeals. 2
                                                                   dismissed the appeal because the district court’s order was
                                                                   not a final appealable order under HSBC Bank USA, N.A. v.
The lender has the security it bargained for—its interest in the
                                                                   Townsend, 793 F.3d 771 (7th Cir. 2015) (dismissing appeal of
property—to protect its interests during the appeal. Without a
                                                                   district court order foreclosing Illinois mortgage and ordering
stay, on the other hand, the typical residential borrower will
                                                                   the United States Marshal to sell property at auction; no final
suffer irreparable damage (eviction from the home) during the
                                                                   judgment until sale had been conducted and district court had
appeal. As noted by the advisory committee on the new Rule
                                                                   confirmed sale).
62 amendments, *505 however, a district court or appellate
court has sufficient power to protect appellees, as well. The
                                                                   In December 2017, the district court entered a judgment
advisory note explains that a court may dissolve a stay in
                                                                   foreclosing the mortgage on Cornish’s home and ordering a
unusual circumstances, such as “a risk that the judgment
                                                                   special commissioner to conduct a public sale of property.
debtor’s assets will be dissipated.” The lender in this case
                                                                   Cornish appealed again. Again we dismissed, holding under
has not shown, at least not yet, that there is such a risk here,
                                                                   Townsend that the order of foreclosure and judicial sale was
as might be the case if insurance or property taxes were not
                                                                   still not a final appealable judgment. A sale was conducted,
paid or if the property were abandoned or being neglected.
                                                                   and on June 29, 2018, the district court entered an order
The lender-appellee has the security it bargained for, and the
                                                                   approving the sale to Deutsche Bank itself. Under Townsend,
appeal should proceed in the ordinary course.
                                                                   that order was the appealable final judgment in this case, and
                                                                   Cornish filed this appeal. Her appeal of that final judgment
I. Factual and Procedural Background                               allows her to raise any issues in the case, including the validity
To explain the background of this case, the district court’s       and amount of her debt, her theories of defense based on
judgment came after a long series of judicial proceedings          the earlier state-court litigation, the relative priorities of the
involving plaintiff Cornish’s home and mortgage. In May            claims against her and the property, and the propriety of the
2006, Cornish obtained a mortgage to buy a home in                 sale. 3
Flossmoor, Illinois. In 2007, the mortgage was assigned
to Avelo Mortgage, which filed a foreclosure action in              *506 Cornish asked the district court to stay its judgment
state court. In August 2008, that case was dismissed by            requiring her to give up possession of the property pending
agreement of the parties. In October 2008, Avelo again sought      her appeal. The district court denied the motion.
foreclosure. The state court dismissed the case for want of
prosecution in September 2010.                                     Cornish renewed her motion for stay in this court. She argued
                                                                   that she is likely to succeed on appeal because the final
In January 2013, Avelo assigned Cornish’s mortgage to              judgment in the state court foreclosure action deprived the
Deutsche Bank, the plaintiff and appellee in this case. In         district court of jurisdiction. She also argued she will suffer
April 2013, Deutsche Bank filed this case in federal court         irreparable harm without a stay because her family will be
to foreclose on the mortgage. Cornish moved to dismiss the         homeless.
case because she thought the state foreclosure suit was still
pending. The district court instead held that the federal suit
was barred by res judicata, holding that the dismissal of          II. Analysis



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Stays pending appeal are governed by Federal Rule of Civil         emergency motion. We make such efforts when we need to,
Procedure 62, which works in coordination with Federal Rule        of course, but it is not the most desirable or reliable procedure
of Appellate Procedure 8(a). Material amendments to Rule           for evaluating the merits of an appeal. And stakes can be high.
62, and conforming amendments to Rule 8(a), took effect on
December 1, 2018. The amendments have clarified the law            At the core of a foreclosure judgment is a judgment
for purposes of this case and made its application simpler and     simply ordering the borrower to repay a money debt. Stays
more flexible. We explain our thinking first under the 2017        pending appeal for money judgments were governed by
versions and then under the 2018 versions.                         Rule 62(d) (2017), which provided for an automatic stay
                                                                   pending appeal if the appellant posted sufficient security. “A
                                                                   judgment creditor holds a general, unsecured debt.” Olympia
   A. The 2017 Versions of Rules 62 and 8                          Equipment Leasing Co. v. Western Union Telegraph Co., 786
The judgment foreclosing the mortgage, approving the sale,         F.2d 794, 800 (7th Cir. 1986) (Easterbrook, J., concurring).
and ordering Cornish to give up possession of the property         A party taking an appeal from such a money judgment was
has several injunctive elements. Rule 62(c) (2017) provided        ordinarily entitled to a stay as a matter of right if she posted a
that a district court “may suspend, modify, restore, or grant      bond to protect the rights of the appellee. Fed. R. Civ. P. 62(d)
an injunction on terms for bond or other terms that secure         (2017); American Manufacturers Mutual Ins. Co. v. American
the opposing party’s rights.” Rule 62(g) (2017) made clear         Broadcasting-Paramount Theatres, Inc., ––– U.S. ––––, 87
that the rule did not limit the power of an appellate court        S.Ct. 1, 3, 17 L.Ed.2d 37 (1966) (Harlan, J., in chambers,
to suspend, modify, restore, or grant an injunction pending        staying enforcement of state-court judgment).
appeal or to preserve the status quo pending appeal.
                                                                   If the bond was posted, then, there was no need for the court
The injunctive aspects of a full, final foreclosure judgment       to inquire, at the very outset of the appeal, into its potential
under Townsend, ordering immediate turnover of the property,       merits. Execution was stayed as a matter of right, not judicial
can support an argument for applying the general equitable         discretion. Id.; Hebert v. Exxon Corp., 953 F.2d 936, 938
balancing test used for stays of injunctions pending appeal        (5th Cir. 1992) (issuing writ of mandamus to district court
as stated in Hilton v. Braunskill, 481 U.S. 770, 107 S.Ct.         to stay execution of declaratory judgment having effect of
2113, 95 L.Ed.2d 724 (1987). The issue in Hilton was the           money judgment after bond had been posted); Dillon v. City of
release, pending a warden’s appeal, of a state prisoner who        Chicago, 866 F.2d 902, 904 (7th Cir. 1988) (“Rule 62(d) of the
had won a writ of habeas corpus. The Supreme Court drew on         Federal Rules of Civil Procedure allows an appellant to obtain
the general standards for stays of injunctions pending appeal:     an automatic stay of execution of judgment pending appeal
“(1) whether the stay applicant has made a strong showing          by posting a bond.”); Northern Indiana Public Service Co. v.
that he is likely to succeed on the merits; (2) whether the        Carbon County Coal Co., 799 F.2d 265, 281 (7th Cir. 1986)
applicant will be irreparably injured absent a stay; (3) whether   (appellant from money judgment must post a bond if it wants
issuance of the stay will substantially injure the other parties   “automatic stay” under Rule 62(d) before 2018 amendment);
interested in the proceeding; and (4) where the public interest    Olympia Equipment Leasing Co. v. Western Union Telegraph
lies.” Id. at 776, 107 S.Ct. 2113; see also Nken v. Holder, 556    Co., 786 F.2d 794, 796 (7th Cir. 1986) (posting bond entitles
U.S. 418, 425–26, 129 S.Ct. 1749, 173 L.Ed.2d 550 (2009)           appellant to stay under Rule 62(d) before amendment, but
(discussing Hilton *507 standard as applied to immigration         district court also had discretion to stay execution under
removal order). Under that standard, a party seeking a stay        other conditions to secure interests of appellee); Federal
and a court considering the issue must dive quickly and deeply     Prescription Service, Inc. v. American Pharmaceutical Ass’n,
into the merits of the appeal.                                     636 F.2d 755, 759 (D.C. Cir. 1980) (“Beyond question, Rule
                                                                   62(d) [before amendment] entitles the appellant who files a
If that standard applied to a mortgage foreclosure appeal,         satisfactory supersedeas bond to a stay of money judgment
then appellant-debtors would face a burden that few other          as a matter of right.”); see also 11 Wright & Miller, Federal
appellants face in appeals over secured loans. After years of      Practice and Procedure § 2905 (2012). In such cases, the stay
litigation and preliminaries, the appellant-debtors in mortgage    of execution pending appeal simply did not depend on the
foreclosure appeals would need to make critical choices,           district court’s or the appellate court’s early evaluation of the
under great time pressure, about how to argue the merits           appellant’s prospects of success in the appeal.
of their appeal. The appellate court would need to make
comparable efforts to learn the merits of the case to decide an


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In the case of a mortgage foreclosure, the execution to put         the sale. See Townsend, 793 F.3d at 780; FDIC v. Meyer, 781
money in the lender’s pocket should actually be simpler             F.2d 1260, 1263 (7th Cir. 1986). Without a stay, which would
than with a general money judgment. The difference is that          have been essentially automatic in an appeal of the underlying
the lender already has its security interest in the mortgaged       judgment on the debt before Townsend, Cornish would likely
property. That security interest should ordinarily suffice to       have been evicted in a matter of days without any meaningful
protect the lender’s rights pending *508 appeal for purposes        opportunity to present her arguments to this court.
of Rule 62. That’s what the lender bargained for as its security,
after all, but on the conditions that the interest remains          In Townsend itself, we acknowledged the obvious: a
protected by, for example, payment of insurance and property        foreclosure and judicial sale pose a great potential for
taxes, and that the property is being cared for. Under the          irreparable harm to the appellant-debtor. We concluded,
pre-2018 version of Rule 62, we recognized, there might             however, that adequate protections, including a stay of a
be unusual cases where district courts or this court should         later judgment confirming the sale, would be available so
exercise their discretion, as discussed in Olympia Equipment        that immediate review of the interlocutory order was not
Leasing, 786 F.2d at 796, to impose additional conditions on        necessary. 793 F.3d at 779–80. Our opinion in Townsend
a stay pending appeal, but this case did not appear unusual in      clearly implied that stays pending appeals in foreclosure cases
this respect.                                                       should be routine to prevent the irreparable harm of losing
                                                                    one’s home. That’s why Townsend avoided the doctrine of
In HSBC Bank v. Townsend, we held that a judgment                   Forgay v. Conrad, 47 U.S. (6 How.) 201, 12 L.Ed. 404 (1848),
of foreclosure applying Illinois law was not a final,               which could otherwise authorize an interlocutory appeal of
appealable judgment. The foreclosure decision left three            an order directing immediate delivery of physical property.
factors unresolved there: (1) the owner retained statutory          793 F.3d at 779–80 (“a mortgagor-owner who is residing in
rights to redeem or reinstate the mortgage before a sale; (2)       the property and taking care of it should not face the kind of
if a sale occurred, it would still need to be confirmed by the      immediate irreparable harm required by Forgay until there is
court; and (3) the amount of any deficiency judgment could          time to file an appeal *509 and to seek a stay of the final
not be determined until the sale had been held and confirmed.       order confirming the judicial sale”) (emphasis added). The
The rule of HSBC Bank v. Townsend means an appeal would             Townsend dissent made that point explicit, saying that under
have to await a district court order confirming the results of      the majority’s approach, stays pending appeals in mortgage
a judicially-ordered sale of the property. 793 F.3d at 777. In      foreclosures should be granted “routinely.” 793 F.3d at 783
other words, a property owner facing foreclosure and unhappy        (Hamilton, J., dissenting).
creditors cannot obtain appellate review of the merits of the
underlying judgment until the case has proceeded to a court-        In weighing these competing arguments for the applicable
ordered auction and the court has approved the result of the        standard on an emergency basis in July 2018, a majority of
auction. At that late stage, a buyer could be ready to take         this motions panel decided to issue the stay in this case. We
possession of the property, though the interests of that buyer      favored the view that stays should be the norm, at least unless
may be less pressing where the buyer is the lender itself (as       the lender-appellee could show that preserving its interest in
in this case) or someone acting in concert with the lender.         the underlying property would not provide sufficient security
                                                                    pending appeal.
Townsend has important practical consequences that show
up in cases like this one, both for the parties and for
the courts. Because of Townsend, debtor-appellant Cornish              B. The 2018 Versions of Rules 62 and 8
could no longer appeal at all, on any issue—including the           The 2018 amendments to Civil Rule 62 and conforming
money judgment on the underlying debt for which a stay              amendments to Appellate Rule 8 reinforce making a stay
pending appeal should have been automatic—until after the           pending appeal the norm in mortgage foreclosure cases. We
district court approved the sale of her home. That last order       focus primarily on the amendments to Rule 62, which were
introduced the injunctive elements into the judgment: it            substantive and also reorganized the rule. Here is the new text
directed the sheriff to evict Cornish, perhaps as soon as thirty    of Rule 62(a)–(d):
days after entry of the order. Further, the sale and delivery
of real property to a good-faith purchaser can render moot          Rule 62. Stay of Proceedings to Enforce a Judgment
at least the portion of the judgment ordering and approving



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                                                                   cases, at least so long as *510 the property is cared for and
  (a) AUTOMATIC STAY. Exceptions for Injunctions,                  protected by insurance and payment of property taxes.
  Receiverships, and Patent Accountings. Except as provided
  in Rule 62(c) and (d), execution on a judgment and               At the same time, the 2018 amendments also make clearer
  proceedings to enforce it are stayed for 30 days after its       that courts have the power to provide sufficient security for
  entry, unless the court orders otherwise.                        appellees, along the lines we recognized in Olympia Leasing
                                                                   Equipment, if the usual forms of security are not sufficient
  (b) STAY BY BOND OR OTHER SECURITY. At any
                                                                   or appropriate for some reason. See 786 F.2d at 796. The
  time after judgment is entered, a party may obtain a stay
                                                                   2018 advisory committee note explains that the amended
  by providing a bond or other security. The stay takes effect
                                                                   rule “expressly recognizes the court’s authority to dissolve
  when the court approves the bond or other security and
                                                                   the automatic stay or supersede it by a court-ordered stay,”
  remains in effect for the time specified in the bond or
                                                                   including to address “a risk that the judgment debtor’s assets
  security.
                                                                   will be dissipated.”
  (c) STAY OF AN INJUNCTION, RECEIVERSHIP, OR
  PATENT ACCOUNTING ORDER. Unless the court                        Under the new version of Rule 62, the newly expressed
  orders otherwise, the following are not stayed after being       flexibility for the form of security to protect the appellee
  entered, even if an appeal is taken:                             gives more explicit support for treating the property in a
                                                                   mortgage foreclosure appeal as sufficient security, at least
  (1) an interlocutory or final judgment in an action for an       as long as the property is occupied and cared for. See also
  injunction or receivership; or                                   HSBC Bank v. Townsend, 793 F.3d at 780. And since the
                                                                   amended rule no longer provides completely automatic stays,
  (2) a judgment or order that directs an accounting in an
                                                                   it allows the courts flexibility to protect a lender-appellee
  action for patent infringement.
                                                                   who needs protection from risks that would dissipate the
  (d) INJUNCTION PENDING AN APPEAL. While                          property or otherwise undermine the security it provides.
  an appeal is pending from an interlocutory order or              Under the new rules, courts should be able to balance fairly
  final judgment that grants, continues, modifies, refuses,        the appellant-debtor’s appeal rights with the lender-appellee’s
  dissolves, or refuses to dissolve or modify an injunction,       right to security pending appeal.
  the court may suspend, modify, restore, or grant an
  injunction on terms for bond or other terms that secure the
  opposing party’s rights. If the judgment appealed from is                                 Conclusion
  rendered by a statutory three-judge district court, the order
  must be made either:                                             Under the 2018 amendments to Federal Rule of Civil
                                                                   Procedure 62 and Federal Rule of Appellate Procedure 8, in
  (1) by that court sitting in open session; or                    appeals from mortgage foreclosure judgments governed by
                                                                   our rule of finality in HSBC Bank USA v. Townsend, 793 F.3d
  (2) by the assent of all its judges, as evidenced by their
                                                                   771, a majority of this panel concludes that the norm should be
  signatures.
                                                                   a stay pending appeal, absent unusual circumstances showing
                                                                   that the security interest in the underlying property does not
The advisory committee notes provide a helpful explanation
                                                                   provide sufficient protection for the lender-appellee.
for the 2018 amendments. The amendments eliminate the
somewhat dated reference in former Rule 62(d) to a
                                                                   For these reasons, we granted the stay pending appeal in this
“supersedeas bond.” The notes also “make clear that a party
                                                                   case.
may obtain a stay by posting a bond or other security.”
Most important for our purposes: “The new rule’s text makes
explicit the opportunity to post security in a form other than
a bond.” Given that explicit flexibility, continuing an existing   St. Eve, Circuit Judge, dissenting.
security interest in the property that a lender required as a      I agree with my colleagues that borrowers appealing from a
condition of the loan should provide adequate security in most     final foreclosure judgment can face real loss without a stay.
                                                                   But I disagree about how to resolve Tracy Cornish’s motion.
                                                                   I respectfully dissent.


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                                                                  The majority asks whether, under new Rule 62(b), a lender-
There are two relevant ways to obtain a stay pending appeal.      appellee’s post-foreclosure interest in a property is a sufficient
The most common is through an exercise of sound judicial          “security” to generally warrant a stay, and it answers in the
discretion, for federal courts generally have the inherent        affirmative. I do not know why we are asking the question
authority to issue a stay of orders or proceedings. See,          at all. The majority has, after all, already granted Cornish’s
e.g., Ryan v. Gonzales, 568 U.S. 57, 73–74, 133 S.Ct.             motion. Even if the amendments have retroactive effect—a
696, 184 L.Ed.2d 528 (2013); Nken v. Holder, 556 U.S.             likely possibility, as the order issuing the amendments states
418, 433–34, 129 S.Ct. 1749, 173 L.Ed.2d 550 (2009);              that they should govern pending proceedings “insofar as just
see also Fed. R. Civ. P. 62(g); Fed. R. App. P. 8(a).             and practicable”—I fail to see how we can (or why we
Rule 62(d) of the pre-2018 amendments to the Federal              should) retroactively apply new rules to an already-granted
Rules of Civil Procedure, however, also allowed that an           and uncontested motion. See Diaz v. Shallbetter, 984 F.2d 850,
“appellant may obtain a stay by supersedeas bond.” This           853 (7th Cir. 1993) (“Amendments may or may not govern
rule, as the majority explains, generally applied to appeals of   ‘further proceedings’ in pending cases,” but the “just and
money judgments. Of these two standards—one dependent             practicable” standard and the Rules Enabling Act “say only
on judicial discretion, the other on an appellate bond—the        that new acts in cases already on the docket ordinarily should
former should have governed Cornish’s motion. That motion         conform to the new rules”). The Supreme Court has said that
asked for temporary relief from the court order approving sale    the retroactivity of amended rules “ordinarily depends on the
(to “stay possession” of the home), not relief from a money       posture of the particular case.” Landgraf v. USI Film Prod.,
judgment (the post-foreclosure deficiency in this case lies in    511 U.S. 244, 275 n.29, 114 S.Ct. 1483, 128 L.Ed.2d 229
rem). Whatever interest a lender has in a foreclosed piece of     (1994). The posture of Cornish’s motion is that it has been
property, it seems a stretch to liken it to a bond.               decided, with only the promise of a short order explaining the
                                                                  initial decision to follow. The stay is in place indefinitely. No
The general standard for issuing a stay pending appeal is well    party has asked us to reconsider it.
established. Courts must consider the likelihood of success,
the irreparable harm, the potential injury, and the public        I have another discomfort with the majority’s order. It
interest. Nken, 556 U.S. at 434, 129 S.Ct. 1749; *511 Hilton      proposes a new standard for these often-made motions,
v. Braunskill, 481 U.S. 770, 776, 107 S.Ct. 2113, 95 L.Ed.2d      which, if ever made precedential by our court, would bind
724 (1987). The likelihood of success is critical. Nken, 556      parties’ rights to property and money on appeal. But it does
U.S. at 434–35, 129 S.Ct. 1749; Frank v. Walker, 769 F.3d         so without the benefit of any argument from the parties.
494, 495–96 (7th Cir. 2014) (per curiam). But Cornish’s           Perhaps that would be palatable if the new Rule 62(b) clearly
motion showed no path to victory, even construing it liberally.   dictated the majority’s result, but it does not. Rule 62(b),
She cited the Rooker-Feldman doctrine and res judicata, yet       for example, contemplates that the party seeking a stay will
there was no preclusive state-court decision or judgment:         “provid[e]” a bond or other security. Fed. R. Civ. P. 62(b).
the dismissal was for want of prosecution, and Deutsche           Cornish, on the other hand, simply lost the foreclosure suit
Bank refiled its claim in federal court within the applicable     below. The purpose of Rule 62(b), moreover, is to protect the
statute of limitations. Because Cornish showed no likelihood      appellee’s rights during appeal. As the majority recognizes,
of success, I dissented from the majority’s order on July 16,     post-foreclosure interest in a property may well not provide
2018.                                                             that protection if taxes go unpaid, upkeep is not met, and the
                                                                  person living in the home continues not to pay for it—all
Since then, amendments to Rule 62 took effect on December         while the lender’s contractual right to take possession is put
1, 2018. Former Rule 62(d) became Rule 62(b), and it now          on ice during appeal. Those are some reasons that Rule 62(b)
states that “a party may obtain a stay by providing a bond or     may not be satisfied by a final foreclosure order. There may
other security.” Fed. R. Civ. P. 62(b) (emphasis added); see      well be others. The majority, again, strikes new ground based
also Fed. R. App. P. 8(a) (corresponding changes included).       on a new rule and an unopposed, pro se motion.
The Committee Notes to the 2018 amendments explain that
the “new rule’s text makes explicit the opportunity to post        *512 I disagreed with the majority’s interpretation under
security in a form other than a bond.” Fed. R. Civ. P. 62,        the former Rule 62. I see no reason to pick a side on its
Committee Notes on Rules—2018 Amendment.                          interpretation under the new Rule 62. I therefore dissent.




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Footnotes
1      See, e.g., Catalan v. GMAC Mortgage Corp., 629 F.3d 676, 681–84 (7th Cir. 2011) (describing “maddening” problems
       borrowers experienced as mortgage servicers made mistakes in transferring borrowers’ account); Sundquist v. Bank
       of America, N.A., 566 B.R. 563, 570 (Bankr. E.D. Calif. 2017) (recounting nightmarish experience of homeowners and
       awarding damages for foreclosure actions taken in violation of bankruptcy stay: “Franz Kafka lives. This automatic stay
       violation case reveals that he works at Bank of America.”), damage award vacated as part of settlement, 580 B.R. 536
       (Bankr. E.D. Calif. 2018); Fresh Outrage for Wells Fargo After Mortgage Error Led to Hundreds of Foreclosures, Chicago
       Tribune (Aug. 7, 2018); Flawed Paperwork Aggravates a Foreclosure Crisis, New York Times (Oct. 3, 2010).
2      We say “provisionally” because these issues have not yet been the subject of full adversarial presentation. That situation
       is not unusual with motions we must decide, and yet we must decide them as best we can. We signal here our willingness
       to reconsider our thinking, particularly if and when we have the benefit of briefing by counsel on both sides.
3      By contrast, in jurisdictions where the judgment of foreclosure is immediately appealable as the final judgment on the
       merits (D owes P the sum of X dollars, and the property is available to execute the judgment), an appellate court hearing a
       later challenge to the order confirming the post-judgment sale should demand much more to justify a stay pending appeal
       of that order. In such processes, the post-judgment appeal is usually limited to the manner of execution; the merits of the
       underlying judgment are deemed to have been finally resolved. See, e.g., Citibank, N.A. v. Data Lease Financial Corp.,
       645 F.2d 333, 337–38 (5th Cir. 1981) (failure to appeal foreclosure order bars ability to challenge merits of that order
       in appeal of later order confirming sale); Central Trust Co. of New York v. Peoria, Decatur & Evansville Ry. Co., 118 F.
       30, 32 (7th Cir. 1902) (appeal from order confirming sale could not challenge merits of underlying foreclosure); see also
       Leadville Coal Co. v. McCreery, 141 U.S. 475, 478–79, 12 S.Ct. 28, 35 L.Ed. 824 (1891) (“[W]e cannot fail to observe that
       the main scope and purpose of this appeal seem to be to relitigate questions fully determined by the final decree appealed
       from and affirmed.”); Whiting v. Bank of United States, 38 U.S. (13 Pet.) 6, 14–15, 10 L.Ed. 33 (1839) (holding that decree
       ordering foreclosure and sale was “final decree,” that later sale and confirmation were “a mere mode of enforcing the
       rights of the creditor,” and that appeal from later sale and confirmation was too late to challenge underlying foreclosure).


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